Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.1 Page 1 of 6
Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.2 Page 2 of 6
Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.3 Page 3 of 6
Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.4 Page 4 of 6
Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.5 Page 5 of 6
Case 3:10-cv-00356-MMA-RBB Document 1 Filed 02/12/10 PageID.6 Page 6 of 6
